      Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 1 of 27



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              IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                             IN AND FOR THE COUNTY OF KING




JULIE DALESSIO, an individual                         Cause No. V-1 -2-_ C)-'a' 2-   3

             Plaintiff                          COMPLAINT FOR

                                             INVASION OF PRIVACY/ PUBLIC RECORDS
             V.
                                             VIOLATIONS; BREACH OF CONTRACT;
                                             DEFAMATION/LIBEL; DISCRIMINATION/
                                             RETALIATION; NEGLIGENCE
THE UNIVERSITY OF WASHINGTON


             Defendant




      COMES NOW Plaintiff,J DALESSIO, FOR cause of action against the
University of Washington, COMPLAINS, states and alleges as follows:
                                       Introduction
On or around April 9, 2016, Plaintiff discovered that The University of Washington
was releasing exempt, confidential, identifying, personal, and libelous records
relating to her employment with the University of Washington. The Plaintiff has
suffered great hardship due to the negligence of the University of Washington in

COMPLAINT J DALESSIO v. Unix of WA                                       Page 1 of 27
      Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 2 of 27




improperly securing and recklessly releasing Plaintiff's employee records to the
public.
                                     1. PARTIES
1.1   Plaintiff is an individual residing in King County, Washington, and a former
employee of the University of Washington, located in King County, Washington.


1.2   The University of Washington is located in King County, Washington.


                                      H. FACTS
2.1       In December 2015, April 2016, January 2017, and March 2017, the
University of Washington, in response to requests for public records, published
and provided exempt: and confidential information relating to Plaintiff
(PR-2015-00570, PR-2016-00218, PR-2016-00283 and PR-2016-00760),
including Plaintiff's Social Security dumber, date of birth, employee ID#, L&I
claim#, Employment Security Information, confidential health information, and a
list of others in the department with L&I claims.


2.2   These Public Records releases include other exempt, personal
information, and libelous, offensive, defamatory documents that are not of
legitimate concern to the public.


2.3   These Public Records releases include a confidential separation
Agreement between Plaintiff and the University of Washington (PR-2015-00570,
stage 2, p128-130), hereafter referred to as the Agreement.


2.4       The University of Washington has violated the terms of the Settlement
Agreement.

COMPLAINT J DAL,ESSIO v Univ of WA                                     Page 2 of 27
      Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 3 of 27




2.5    The University of Washington negligently maintained Plaintiff's employee
file, inserted false and misleading documents, removed several documents, and
failed to keep records of persons or agencies accessing Plaintiff's file.


2.6 • The University of Washington provided copies of this personal, confidential
information to Plaintiff's next-door neighbor (PR-2015-00570), who presented this
to impugn Plaintiff's credibility in a civil action against Plaintiff. (Superior Court
Records) The University of Washington also provided all of the Plaintiff's
identifying information to her spiteful neighbor, who ignored claw-back requests.


2.7   The University of Washington did not inform Plaintiff of any public records
requests concerning her.


                                 111, if3AGKGROUND
3.1    Plaintiff was employed by the University of Washington, under the same
supervisor for over 16 years, from 1987-2003 in the Department of Laboratory
Medicine. She obtained a Master of Science degree from the University while
working her way up to Clinical Technologist, with additional compensation "via a
consulting arrangement with Children's Hospital" to "recognize" the "added
duties". Since 1995, she was identified in organizational charts as supervisor of
the Virology Research Lab. She is credited with the development of methods
used in the diagnosis and characterization of immune responses to viral
pathogens.


3.2    In 1998, her supervisor reimbursed her costs for a home office, and
directed her to work at home on data processing and analyses of several
research projects, along with her other duties, hiring, training, evaluating,

COMPLAINT: J DALESSIO v. Univ. of ll4rA                                     Page 3 of 27
      Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 4 of 27




supervising and helping other employees, training and working with students and
visiting scientists, developing new analytical testing methods, and attending,
presenting and reporting on research meetings. She received excellent
evaluations from her supervisor until 2002.


3.3   In December 2001 and February 2002, Plaintiff first became aware that
her supervisor was making false and misleading accusations pertaining to her
work on a federally funded project. When these accusations were copied and
emailed to others, Plaintiff responded, diplomatically, in writing to these false
accusations, and replied to all by email. Subsequently, her supervisor's hostility
increased, with multiple acts of retaliation and discrimination, and encouraging a
hostile workplace. Plaintiff made every attempt to report the misbehavior through
the channels provided by the University of Washington, including the Office of the
Ombud. This resulted in retaliation that escalated until January 2, 2003 when the
Plaintiff was bullied into resigning and signing the Settlement Agreement,
including a nondisclosure clause and other illegal terms.


3.4   Included in the Settlement Agreement, the University of Washington
specifically agreed to remove all of the documents containing unsubstantiated,
false accusations from their files. On January 10, 2003, Assistant Attorney
General Jeffrey W. Davis wrote, "The documents in question have been collected
and sequestered .." In March 2017, Plaintiff discovered that the University of
Washington had actually added more than 31 copies of these documents to her
personnel file, along with additional libelous documents!


3.5   From 2003 to the present 2017, the Plaintiff's personal and private
information from the University of Washington employee records has been

COMPLAINT J DALESSIO v. Unix of WA                                        Page 4 of 27
       Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 5 of 27




available to anyone for inspection and for personal use. The fact that the
information that is false and misleading was available to anyone for such a long
time period (14 years) is offensive to the Plaintiff, and has caused irreparable
damage to her good name, her career, and her well-being.


3.6    Plaintiff first knew of the public records violations in April 2018 when, in
response to her neighbor's Public Records Request for all records pertaining to
Plaintiff (PR-2016-00283, pg 3), the UW gave him copies of Plaintiff's private and
personal employee records including social security number, date of birth and
more. (PR-2015-00570)
       The University of Washington, delivered exempt, confidential and
defamatory documents to unauthorized persons.


3.7    On April 17, 2018, Plaintiff informed the University of Washington Office of
Public Records of this breach of confidentiality (PR-2018-00283).


3.8    Plaintiff contacted several other state and University offices to report the
improper conduct, including: Washington Human Rights Commission, the
University Ombud, the University assistant attorney general Rob Kosin, the
Office of Risk Management, and the Department of Enterprise Services.


3.9    The University of Washington continued to publish untrue, defamatory,
libelous, confidential, and exempt documents even after Plaintiff contacted them
regarding these issues. (PR-2018-00760)


3.10    Plaintiff first knew in April 2016, that her supervisor had altered her
personnel file and misrepresented the work that Plaintiff was assigned, and that

COMPLAINT J DALESSIO v. Univ. of WA                                       Page 5 of 27
      Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 6 of 27




Plaintiff's salary had been paid from government grants for work that had never
been assigned to the Plaintiff, that was outside her unit.


3.11 The UW altered the Plaintiff's personnel file to present her in a false light,
and left her file open for public inspection. The University of Washington failed to
protect Plaintiff's personal information and preserve it in the manner required by
the law.


                         IV. JURISDICTION AND VENUE
4.1   This Court has jurisdiction over the parties and subject matter of this
lawsuit because the acts and transgressions giving rise to the claims occurred
within King County Washington.


4.2   Venue is proper with this Court because this lawsuit involves residents of
King County, Washington, and involves acts that occurred in King County,
Washington.


4.3   The State of Washington, Human Flights Commission, has given
permission to file a civil action, pursuant to RCW 49.60.030.




                             V. CAUSES OF ACTION
      Plaintiff re-alleges and incorporates by reference all of the above, as
though fully set forth herein.
5.1   Claim for INVASION OF PRIVACY Public Records Act Violations
      a.   In December 2016, April 2016, January 2017, and March 2017 the
University of Washington released information that was not properly redacted,

COMPLAINT. J DALE s.SIO V Univ. of WA                                   Page 6 of 27
     Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 7 of 27




exposing exempt, personal and confidential information about Plaintiff, including
all of the following items that are expressly exempted from public inspection:
Social Security Number, Date of birth, Residential address, residential telephone
number, personal electronic mail address, identicard number (RCW 42.56.250
(3), RCW 42.56.230; RCW 42.56.070; RCW 42.56.590; and Painting Indus.,
Preservation Fund, and Hopkins. 90 Wn. App. 205; 951 P.2d 357; 1998 Wash.
App.); Employment Security records (RCW 42.56.410); protected health
information (RCW 42.56.070; 45 CPR Part 160 & 164); Educational records
(RCW 42.56.070; 20 U.S.C. 1232g(a)(4); 34 CGR Part 99); Test Questions (RCW
42.56.250(1)); Performance Evaluations (RCW 42.56.230(3); RCW 42.56.050; as
well as per Dawson v Daly, 120 Wn. 2d 782 (1993) and Dawson, 120 Wn.2d at
797); Information related to employee alleged misconduct (RCW 42.56.070(1);
RCW 41.06.450, and RCW 42.56.110); Preliminary drafts, notes,
recommendations,. and intra-agency memorandums in which opinions are
expressed (RCW 42.56.280); Mediation communications (RCW 42.56.600, RCW
42.56.070(1); RCW 7.07 and RCW 7.07.070);              Medical Records (RCW
70.02.020; RCW 42.56.070(1)); Information contained in the claim files and
records of injured workers (RCW 51.28.070; RCW 42.56.070(1)); Personnel files
(RCW 42.56.230; 5 U.S.C. § 552(b)(6)); employee job classification, salary and
benefits information, coupled with the employees name and address. (RCW
42.56.230; 5 U.S.C. § 552(b)(6) and Painting Indus. of Haw. Mkt. Recovery Fund
v. United States Dept of Air Force, 26 F.3d 1479 (9th Cir. 1994)); Payroll records
(RCW 42.56.230; Hopkins v Department of Hous. & Urban Dev., 929 F2d 81
(2nd Cir. 1991))and Records that are relevant to a controversy to which an
agency is a party but which records would not be available to another party under
the rules of pretrial discovery for causes pending in the superior courts are
exempt from disclosure (RCW 42.56.290).

COMPLAINT, DALESSIO v Univ of WA                                      Page 7 of 27
      Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 8 of 27




        . According to RClly 42.52.050 "(3) No state officer or state employee
may disclose confidential information to any person not entitled or authorized to
receive the information."


      c. httpJAfvww.Washington.edu/publierecords/request-a-public-record/
"the public records officer may also notify third parties who have an interest in the
records that you have made a public records request."
"your public records request is not a confidential record. Your request is itself a
public record. It can be requested by others and the office forwards public
records requests to the departments holding records and to third parties who
have an interest in the records you have requested."


      d. MAC 478-276-085 (2)Additional time for the office to respond to a
request may be based upon the need to:
(c) Notify third persons or agencies affected by the request; or
(d) Determine whether any of the information requested is exempt and that a
denial should be made as to all or part of the request.


      e. WAC 478-276-090 (1) fiance records responsive to a request (or any
installment thereof) have been locafed, assembled, reviewed, and prepared for
release, and any affected third persons or agencies nodried, the public
records office shall promptly notify the requester that those records are available
for inspection or copying. (emphasis added)


      f. RCIl1! 42.56.050 Intent -1987 c 403 " ... in responding to requests for
disclosure not make any distinctions in releasing or not releasing records based
upon the identity of the person or agency which requested the records, .."

COMPLAINT. J CALESSIO v. tlnfv of WA                                     Page 8 of 27
      Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 9 of 27




      g. According to RCW 42.55.540, "The examination of any specific record
may be enjoined if ... would clearly not be in the public interest and would
substantially and irreparably damage any person..." and "An agency has the
option of notifying persons ... that release of a record has been requested.
However, this option does not exist where the agency is required by law to
provide such notice."


      h. The University of Washington knew or should have known proper
procedures for responding to public records requests, and for redacting
exempt records. Had the University followed codes and policies, and
notified Plaintiff before the records release, the court could have stopped
the improper release!


      i. RCW 42.55.050 "A person's "right to privacy,," "fight of privacy,"
='privacy," or "personal privacy," as these terms are used in this chapter, is
invaded or violated only if disclosure of information about the person: (1) Would
be highly offensive to a reasonable person, and (2) is not of legitimate concern to
the public.
      j. The courts have found the release of exempt, personal, confidential
   information to be highly offensive, for example:


   "disclosure of performance evaluations, which do not discuss specific
   instances of misconduct, is presumed to be highly offensive .. " Dawson, 120
   Wn.2d at 797.


"release of employees" identification numbers would be highly offensive, because
disclosure could lead to public scrutiny of individuals concerning information

COMPLAINT: J DAL.E'SSIO v Univ. of WA                                    Page 9 of 27
     Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 10 of 27




unrelated to any governmental operation and impermissible invasions of privacy
as contemplated in Painting Indus., Preservation Fund, and Hopkins.90 Wn. App.
245; 951 P.2d 357; 1998 Wash. App. LEXIS 273"


      k. It's highly offensive to Plaintiff, as any reasonable person, that the
University of Washington released the exempt, confidential, identifying,
personal and defamatory information to her unethical, spiteful, neighbor,
without informing her first and giving her the opportunity to stop it;
       It's highly offensive to Plaintiff, as any reasonable person, that the
University of Washington released the multitude of exempt information, even
after she reported the breaches to multiple departments at the University of
Washington; It's highly offensive to Plaintiff that the University of Washington
would not do anything to rectify these errors; It's highly offensive to Plaintiff, as
any reasonable person, that these negligent practices by the University of
Washington are continuing.


      I. The courts have found the release of exempt, personal, confidential
information is not of legitimate concern to the public, for example:
"disclosure of identified employees' address, wage, and benefits information
unwarranted because the public's interest did not meet FOIA's central
purpose--"to open agency action to the light of public scrutiny." Department of Air
Force v. Rose, 425 U.S. 352, 372, 95 S. Gt. 1592, 48 L. Ed. 2d 11 (1975).


      m. Plaintiff's personal, identifying, exempt information is not of legitimate
concern to the public.




COMPLAINT J DALFSSIO v. Univ. of WA                                       Page 10 of 27
     Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 11 of 27




      n. Washington State law (RCW 42.56.060) provides that state employees
are immune from civil and criminal liability so long as the disclosed information
was provided in a good faith effort to comply with public disclosure laws.


      o. The University of Washington Office of Public Records and other offices
that maintain and supplied records for public release should have known and
followed applicable contractual obligations, laws, codes and policies.


      p. This exempt information was provided as the result of negligence by the
University of Washington.


      q. The courts have found that "Government officials are protected from
liability for civil damages unless their conduct violates clearly established
statutory or constitutional rights of which a reasonable person would have
known." Moran v. State, 1471= 3d 839, 844 (9th Cir. 1998) (citing Harlow u
Fitzgerald, 457 U.S. 800, 102 S. Ct. 2727, 73 L. Ed. 2d 396 (1982))


      The University of Washington Office of Public Records knew or
reasonably should have known that Plaintiff has the statutory and civil
rights to privacy, and should have made a better effort to redact exempt
documents from the Public Record BEFORE the release.


      r. The University of Washington is liable for civil damages because
their conduct violates Plaintiff's established statutory rights to privacy.




COMPLAINT J DALESSIO v. Univ. or V A                                     Page 11 of 27
     Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 12 of 27




      s. RCW 42.56.590, (12)(a) Any individual injured by a violation of this
section may institute a civil action to recover damages. (b) Any agency that
violates, proposes to violate, or has violated this section may be enjoined.
(c) The rights and remedies available under this section are cumulative to each
other and to any other rights and remedies available under law.


      t. RCW 9.73.060 Violating right of privacy—Civil action—Liability for
damages. "A person so injured shall be entitled to actual damages, including
mental pain and suffering.."


       u. As a private individual, Plaintiff' need only prove that these documents
were negligently produced (flitter, 66 Wn. App. at 400); actual malice does not
need to be proved.


       v . The identifying information that was released puts Plaintiff at risk and
worry for identity theft.


       w. In addition, the release of this information caused financial damage as
it was presented in a frivolous lawsuit against Plaintiff, who paid her attorney to
review the records, request claw-back, and argue the admissibility (based on
irrelevance) of this information when her neighbor submitted this as evidence in
an unfounded adverse possession claim. (King County Superior Court Records).


      x. In addition, the release of this information caused financial damage as it
was compiled, preserved and presented in Plaintiff's personnel file, damaging her
reputation and thus destroying her career.



L;OMPL.AINT J DALESSIO v. Univ of WA                                    Page 12 of 27
     Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 13 of 27




      y In addition, the release of this information caused mental pain and
suffering and the recurrence of stress-related illness as Plaintiff has had to review
the abusive treatment that she received from the University of Washington.


5.2 Claim for Breach of Contract
      Plaintiff re-alleges and incorporates by reference all of the above, as
though fully set forth herein.
      a. Plaintiff and the University of Washington entered into a contract in
2003, the Settlement Agreement, which terms the University of Washington has
violated on numerous occasions. The Agreement specifies that we "agree not to
publicize the terms of this Agreement, and to direct others to do the
same ..." (PR-2015-00570, stage 2, p.130, #16), and "any party that prevails in
court in showing a violation of the terms of this Agreement will pay all reasonable
attorney's fees and costs that are necessary to enforce the Agreement."


      b. The University of Washington has made this Agreement part of the
public records, and has publicized the terms of the Agreement, and multiple
copies of the Agreement, in breach of the contract.(PR-2015-00570,



      c. In a written statement from Assistant Attorney General, Jeffrey Davis,
dated January 10, 2003, The University of Washington claimed to have complied
with the terms of the Separation Agreement APR-2015-00570, stage 2, p 38), and
to have removed specific documents from Plaintiff's Personnel file and all
Department files. In April 2010, Plaintiff discovered that, despite this, the
University of Washington had inserters into the public records at least 31 copies
of these documents that they specifically Agreed to remove from their files!

COMPLAINT J DALE'SSIO t, f niv of M                                     Page 13 of 27
     Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 14 of 27




      d. The University of Washington is liable for the actions of its employees.


      e. The University of Washington reasonably ought to have known that they
were providing exempt, frivolous, defamatory information in the Public Records
Releases, in a serious breach of contract. The University of Washington was not
acting in good faith in this negligent public records release.


      f. The reporting and release of this information caused financial damage
as it was compiled, preserved and presented as the public record pertaining to
the Plaintiff, damaging her reputation and destroying her career.


      g. In addition, the release of this information caused financial damage as
it was presented in a frivolous lawsuit against Plaintiff, who paid her attorney to
request claw-back, then argue the admissibility (based on irrelevance) of this
information. (Superior Court Records)


5.3 Claire for Defamation/Ubel
      Plaintiff re-alleges and incorporates by reference all of the above, as
though fully set forth herein.
      a. The University of Washington has altered Plaintiffs personnel file,
without her knowledge or consent, in violation of state and University laws and
policies and in breach of the Settlement Agreement, in a deliberate effort to
defame her, removed commendatory documents that confirm her
accomplishments and inserted exempt and libelous, irrelevant, and misleading
documents (and multiple copies of such), and preserved, shared, distributed and
provided deliberately misleading documents to anyone who asked.

COMPLAINT J DALESSIO v Univ. of WA                                      Page 14 of 27
     Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 15 of 27




      b. These exempt and defamatory documents, include: A confidential
Settlement Agreement; numerous documents (and numerous copies of those
documents) that should have been removed according to the Agreement;-L&I
claim information; Employment security information; financial information;
multiple copies of a cognitive job analysis; confidential psychiatrist notes;
personal medical information; derisive and defamatory documents containing
unsolicited, unqualified opinions and directions about healthcare by her
supervisor; false and irrelevant, derogatory and demeaning statements,
misconstrued, fabricated hearsay of hearsay; Multiple copies of overpayment/
repayment option forms, in conjunction with multiple confirmations of fraud
prevention training; Paperwork detailing the government grants that were
improperly (and unknown to plaintiff) used to pay Plaintiff's salary; multiple
copies of one request for a personal leave of absence in 1996; Multiple copies of
one job performance evaluation; Multiple copies of other, selected educational
records; and more. All of these items are expressly exempted from public
inspection, as noted above (5.1 a.).
      c. Under RCW 40.14, Records Management Services at the University of
Washington has posted schedules for records retention, and WAC 478-276-095
protects public records from those who would "disassemble, deface, or cause the
disorganization of any record for any reason whatsoever." The University of
Washington has violated their responsibilities for retention and for
destruction of public records, improperly removing and inserting
documents into Plaintiff's personnel file, and presenting a disorganized
mess as her Public Record.




COMPLAINT J DALESSIO v tinier of WA                                     Page 15 of 27
     Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 16 of 27




     d. University of Washington policy (httD:/lhr.uw eduWllrJeslprovidinci-
work-references-to-prospective-empl
                                  loyersll states: "The presumption of good
faith can only be effectively challenged if a current or former employee can show
by clear and convincing evidence that information the employer disclosed was
knowingly false, deliberately misleading, or made with reckless disregard for the
truth." and "the law states that a supervisor or manager who provides it should
retain a written record in the employee's personnel file of the identity of the
person or entity to which reference information is provided..." "Do not provide
medical information even if an employee voluntarily disclosed it to you." "Do not
provide information about an employee that is not directly work related."
      The University of Washington provided all of the above and did not retain
the required records.


      e. "[I]f a supervisor performs an act motivated by ... animus that is
intended by the supervisor to cause an adverse employment action, and if that
act is a proximate cause of the ultimate employment action, then the employer is
liable." Staub, 562 U.S. at 422.
      The University of Washington is liable for the actions of its employees.


      f. RCW 42.40.020(3) "An individual who knowingly provides or reports, or
who reasonably ought to know he or she is providing or reporting malicious,
false, orfrivolous information, or information that is provided with reckless
disregard for the truth, or who knowingly omits relevant information is not acting
in good faith." (emphasis added)


      The University of Washington Office of Public Records reasonably ought to
have known that they were providing exempt, frivolous, and defamatory

COMPLAINT J DALESSIO v. Univ. of WA                                     Page 16 of 27
     Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 17 of 27




information that is all expressly exempted from public inspection (See 5.1 a.,
above) in the Public Records Releases. The University of Washington reasonably
ought to have known that this unfounded, unsubstantiated, libelous, misleading, if
not false, information was then provided with reckless disregard for the truth.


      The University of Washington School of Medicine and Medical Centers
Human Resources, The Assistant Attorney General, Attorney for the University
of Washington, and Plaintiff's supervisor knew or should have known that records
of her supervisor's unsubstantiated, misleading, defamatory, accusations were
not to be preserved, copied and publicized.
       Plaintiff's supervisor and Human Resources knew or should have known
that information not pertaining to work should not be included in an employee's
personnel file; that an employee's personnel file should not contain health or
disability related information; that an employee's personnel file was not to be
altered without her knowledge.


      The University of Washington was not acting in good faith in the deliberate
manipulation of Plaintiff's file to shine a false light on her character, her abilities
and her accomplishments and in reporting exempt and defamatory information.


      g. RCW 7.95,040 (1) A person may maintain an action for defamation or
another claim covered by this chapter only if: (a) The person has made a timely
and adequate request for correction or clarification from the defendant; ...
       In the Settlement Agreement signed Jan. 2, 2003, the University of
Washington agreed to remove letters containing her supervisor's
unsubstantiated, misleading, libelous, accusations from their files. The University



COMPLAINT. J DALE'SSIO v. Ur?iv. of V'/'A                                  Page 17 of 27
     Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 18 of 27




of Washington claimed that they removed these documents from their files on
January 10, 2003.


      In April, 2016, when Plaintiff first discovered that the University of
Washington was distributing these, along with additional defamatory documents,
she communicated her claims to the University of Washington Office of Public
Records, the University ombud, the Public Records ombud, the University
assistant attorney general, the Office of Risk Management, and the Department
of Enterprise Services (DES). The Plaintiff filed a claim, using their claim form,
on October 21, 2016. DES responded Feb. 2, 2017, "The University must
respectfully deny your claim... "sorry that we cannot remedy this situation for
you; the University is only able to resolve claims for which we have legal liability."


      h. Doe v. Gonzaga Univ., 143 Wn.2d 687,24 P,3d 390 (2001) (en banc),
      ,portion rev'd on other grounds, Gonzaga Univ. v. Doe, 636 U.S. 273 (2002)
      The court found that the university and its employees could be liable on
      defamation claim even though the statements in question were only made
      among university personnel and not among those outside the university's
      community.


      i. The release of this information caused financial damage as it was
presented in a frivolous lawsuit against Plaintiff, who paid her attorney to argue
the admissibility (based on irrelevance) of this information. (King County Superior
Court Records)


      j. In addition, the release of this mis-information caused financial damage
as it was compiled, preserved and presented as Plaintiff's personnel file,

COMPLAINT J DALESSIO Y. Unix of O/A                                     Page 18 of 27
     Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 19 of 27




damaging her reputation inside and outside the university community, and
destroying her career. in the best light, but for the defamation that continued
after Plaintiff's resignation, she could've continued her career in a capacity that
utilized her skills in the scientific development of laboratory medicine.


      k. In addition, the release of this mis-information caused the recurrence of
stress-related illness as Plaintiff has had to review the abusive treatment that she
received from the University of Washington, along with the emotional distress
from learning the even greater extent of the abuse from the scandalous and
libelous documents added to her employee file after her resignation, along with
the emotional distress from discovering that for over 14 years the UW has been
presenting this false and misleading information to anyone who asks, including
her vindictive, unethical neighbor. (Damages for emotional distress are available
in defamation suits. Cagle v Burns &Floe, Inc., 106 Wn.2d 911, 915-18 & n.1,
726 P.2d 434 (1988).)


5.4 Claim for Civil Rights violations, discrimination, Retaliation for
whistleblower
Plaintiff re-alleges and incorporates by reference all of the above, as though fully
set forth herein.
      a. The University of Washington harassed, threatened and coerced
Plaintiff into resigning and specifically signing away her rights to complain about
age and disability discrimination. The Agreement includes the following terms:


"By signing this Agreement Plaintiff is confirming that except for the claims filed in
"statement of Dispute," she has not filed any complaint, appeal or other claim



COMPLAINT J DALESSIO v. Univ. of VIA                                    Page 19 of 27
      Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 20 of 27




which is waived in this paragraph with any agency or court. Plaintiff further
agrees that she will never do so."
and
"This includes any actions under the Age Discrimination in Employment Act and/
or the American (sic) with Disabilities Act." (PR-2015-00570, stage 2, pl29, #7)


      b. "It is an unfair practice for any employer:"
"(4) To print, or circulate, or cause to be printed or circulated any statemen4
advertisement, or publication," "which expresses any limitation, specification, or
discrimination as to age," "or the presence of any sensory, mental, or physical
disabil'   "or any intent to make any such limitation, specification, or
discrimination" (RCW 49.50.9 80)
and
"It shall be an unfair practice: (1)For an employer or licensing agency, because
an individual is foU years of ate or older... to discriminate against such
individual ... " (RCW 49.44.090)
and
"It is an unfair practice ...to attempt to obstruct or prevent any other person
 from complying with the provisions of this chapter (RCW 49.60.220)


      c. But for Plaintiff's age and disability, the Settlement Agreement would
not have pointedly prohibited any actions under the Age Discrimination in
Employment Act and/or the Americans with Disabilities Act.


      d. "Title Vll of the Civil Rights Act specifies that discriminatory practices
include employment decisions based on stereotypes or assumptions about



COMPLAINT J DALESSIO v tlniv. o/ .141A                                  Page 20 of 27
     Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 21 of 27




abilities, traits or performance of a protected class. These could be intentional
or practices that have the effect of discrimination.
      In addition, section 704(a) and RCW 49.80.210 provide that it is an
unlawful employment practice to discriminate against an individual because she
has opposed any of these unlawful, discriminatory practices, and section 503(b)
of the ADA prohibits coercion, intimidation, threats, or interference with
anyone because they have exercised or enjoyed, or aided or encouraged others
in their exercise or enjoyment, of rights under the Act. The "Civil Rights Act of
1991 provides substantial additional monetary provisions to remedy
instances of retaliation or other discrimination, including, for example, to
remedy the emotional harm caused by on-the-job harassment." (enclosure with
EEOC Form 131-A (17!09) emphasis added)


      e. The terms of the Agreement are clearly meant to obstruct and deprive
the plaintiff of her clearly established rights to complain about discrimination and
are included based on the perception of Plaintiff as a whistleblower. Retaliation,
(42 USC sec 1981 includes post termination retaliation) including interference
with Plaintiff's rights to file complaints of discrimination is ongoing until the
illegal terms of that Agreement are changed, restoring Plaintiff's civil rights.


      f, `The employee must show that a reasonable employee would have
found the challenged action materially adverse, meaning that it would have
"`dissuaded a reasonable worker from making or supporting a charge of
discrimination."' Burlington IV. & Santa Fe fly. Co. v. White, 548 U.S. 53, 68, 126
S. Ct. 2405, 165 L. Ed. 2d 345 (2006)




COMPLAINT J DALESSIO v. Univ of WA                                       Page 21 of 27
     Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 22 of 27




      The University of Washington harassed, threatened and coerced Plaintiff to
sign an Agreement that specifically dissuades the Plaintiff from making or
supporting a charge of discrimination!


      g. In addition to all of the retaliatory actions against Plaintiff while
employed at the University of Washington, the ONGOING Retaliatory actions
include all of the following: "unequal treatment," "unwarranted and
unsubstantiated letters of reprimand and unsatisfactory performance
evaluations", "denial of employment and unemployment security, supervisor
behaving in and encouraging coworkers to behave in a hostile manner, issuance
of a nondisclosure Nreement, and all these actions that are inconsistent
compared to actions taken compared to other employees who have not engaged
in conduct that is protected, or who is perceived by the empl-Mr as reporting.
whether they did or not, alleged improper governmental action or an employee
who identifies rules warrantin review
                                eview and an employee _who is believed to have
identified rules warranting review but who. in fact has not done so. (RCW
42.40.050, 42.40.020; retaliatory action against whistleblower and definitions,
underlines added)


      h. "two essential elements to a 42 U.S.C, sec.1983 claim:
(1) the conduct complained of must be committed by a person acting under color
of state law; and (2) the conduct must deprive the plaintiff of a right or privilege
secured by the constitution or the laws of the United States. Turngren v King
County, 104 Wash. 2d 293, 311, 7051? 2d 258 (1985)."


      i. The assistant attorney general at the University of Washington
implemented and signed the Agreement, including a non-disclosure clause and

COMPLAINT J DALE'SSIO v. Univ. of VVA                                     Page 22 of 27
      Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 23 of 27




other illegal terms, specifically resulting in discrimination, distinction, restriction,
and unequal treatment based on age and disability. (RCW 9.91.010 Denial of
civil rights, includes ".. any educational institution wholly or partially supported
by public funds,")


       j. Claim Services at The University of Washington has responded to
Plaintiff's complaint with a "Disclaimer of public liability" under RCW 42.58.080.


       k. "Government officials are protected from liability for civil damages
unless their conduct violates clearly established statutory or constitutional rights
of which a reasonable person would have known. Moran v. State, 147 F.3d 839,
844 (9th Cir. 1998) (citing Harlow v. Fitzgerald, 457 U.S. 800, 102 S. Ct. 2727, 73
L. Ed. 2d 398 (1982))"
       The University of Washington is liable for civil damages because their
conduct violates Plaintiff's established statutory and civil rights to privacy and
rights to complain about discrimination.
       Discrimination and retaliation, (42 USC sec 1981 includes post termination
retaliation) is ongoing until Plaintiff's employee records are restored and
maintained in a manner that is consistent with contractual obligations, University
policy and state and federal laws.


       1. In the best light, but for the retaliation that continued even after Plaintiff's
resignation, barring Plaintiff from complaining of discrimination, she could have
brought the facts of her unfair treatment to the attention of the public and the
courts 15 years ago, and remedied the damage at that time.




COMPLAINT J DALESSJC v. Univ of WA                                          Page 23 of 27
     Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 24 of 27




      m, In the best light, but for the harassment, discrimination, retaliation and
defamation that continued even after Plaintiff's resignation, she could've
continued her career in a capacity that utilized her skills in the scientific
development of laboratory medicine.


      n. In addition, the release of this information caused the recurrence of
stress-related illness as Plaintiff has had to review the abusive treatment that she
received from the University of Washington, and experience the retaliation that
that continues.


      o. "The intent of RCW 42.40 is to protect the rights of state employees
making disclosures of improper governmental action, RCW 42.40.040(5)(c) "the
identity or identifying characteristics of a whistlebiower is confidential at all
times."
       Plaintiff has the right to privacy, to keep her name out of the public record
of this civil action, to avoid further damages.


5.5 Claire for injunctive Relief
      a. On numerous occasions, the University of Washington has negligently
released personal, confidential, exempt records concerning Plaintiff in response
to requests for public records.


       b. On numerous occasions, the University of Washington published
defamatory, libelous, exempt documents concerning Plaintiff.




COMPLAINT: J DALESSIO v Unite of VVA                                       Page 24 of 27
     Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 25 of 27




      c.   Can   numerous occasions, the University of Washington has violated the
terms of the Settlement Agreement with Plaintiff.


      d. The University of Washington threatened and coerced Plaintiff into
agreeing to terms of the Agreement that are illegal and violate her civil rights.


      e. Plaintiff fears that the University of Washington will continue to violate
federal and state civil rights laws, state public records and employment laws,
University policies, and the terms of the Settlement agreement.


      f. Plaintiff fears that without appropriate injunctive relief, she will suffer
injury and damage so long as this matter is unresolved.


      g. These claims are all within the statute of limitations. It has been less
than one year since the first public records violation was discovered and only 2
weeks since the latest incident. Discrimination, .Retaliation, and Defamation is
ongoing until the Settlement Agreement and Plaintiff's records are rectified.

                                      tw   b.   'S
                            kI   Y


       Plaintiff reserves the right to add additional parties to this lawsuit as well as
make further claims and/or amend claims set forth herein as may be warranted
by discovery.



Plaintiff re-alleges and incorporates by reference all of the above, as though fully
set forth herein. The Public Records include irrefutable evidence of these facts.



COMPLAINT J DALESSIO v. Univ. of ,/i/A                                     Page 25 of 27
      Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 26 of 27




WHEREFORE, Plaintiff prays that the Court grant the following relief:
7.1 a. Entry of an Order compelling the University of Washington to
appropriately redact the public records including PR-2015-00570,
PR-2015-00218, PR-201500283, and PR-2015-00760, to obscure all exempt,
personal and identifying information and
       b. Stopping the University of Washington from publishing exempt,
confidential, and false, misleading, unsubstantiated and defamatory information.
       c. Compelling the University of Washington to appropriately maintain
Plaintiff's records in accordance with all applicable laws and policies;


7.2    Entry of judgment against the University of Washington on Plaintiff's claims
for Public Records violations;
7.3    Entry of judgment against the University of Washington on Plaintiff's claims
for invasion of Privacy;


7.4    Entry of an Order compelling the University of 'Washington to apply the
Public Records Act, WAC, and University policies equally, regardless of the
identity of the person or organization, and to notify anyone who is the subject of
a Public Records Request before any information is released;


7.5    Entry of a preliminary and permanent injunction precluding the University
of Washington from discriminatory practices under Title VII and the Americans
with Disabilities Act, and RCW 49.60.180, 49.44.090, 42.40.020, and 42.40.050,
42 U.S.C. sec. 1983;




COMPLAINT J t ALESSIO v. Univ. of WA                                   Page 26 of 27
      Case 2:17-cv-00642-MJP Document 1-1 Filed 04/24/17 Page 27 of 27




7.6    Entry of a preliminary and permanent injunction compelling the abatement
and removal of the illegal terms of the Settlement Agreement by the University of
Washington;
7.7    Award of damages to Plaintiff for the above liabilities, including actual and
punitive damages, compensation for lost employment opportunities and pension
benefits, as well as substantial compensation for emotional harm and loss of
enjoyment of life;


7.8    Award of attorney's fees and other costs incurred in this action to Plaintiff
pursuant to statute, and to the fullest extent allowed by contract, law, and equity;
and


7.9    Such other relief as the Court deems just and equitable.


DATED; This 28TH day of March, 2017.




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COMPLAINT J DALESSIO v. Univ. of WA                                      Page 27 of 27
